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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


LETHONIA MILLER,

                                   Plaintiff,

                                                            DECISION AND ORDER
              v.                                                 14-CV-393-A

NEW YORK STATE POLICE, et al.,

                                   Defendants.



       This case involving claims of race discrimination in employment and

retaliation was referred to Magistrate Judge Leslie G. Foschio pursuant to 28 U.S.C.

§ 636(b)(1) for the conduct of pretrial proceedings. Discovery was completed and

on August 22, 2019, Magistrate Judge Foschio filed a Report and Recommendation

(Dkt. No. 95) recommending that the motions of defendants New York State Police,

Francis P. Christensen, and Kevin Kendall for summary judgment pursuant to Fed.

R. Civ. P. 56(c) (Dkt. Nos. 74, 76) be granted. The Magistrate Judge determined

that no trial is necessary to conclude that plaintiff Miller is unable to prove any of his

claims.

       Plaintiff Miller filed objections to the Report and Recommendation (Dkt. Nos.

98, 103, 104, and 106) and the defendants responded (Dkt. Nos. 101, 102, 107 and

108). The Court heard oral argument on August 14, 2020.

       The Court presumes the parties’ familiarity with the evidentiary record and the

legal issues before the Court. Upon de novo review of the objections of plaintiff
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Miller, the Court finds that, when plaintiff’s objections are assessed in a light most

favorable to plaintiff, and in light of the relevant evidence in admissible form, no

genuine issues of material fact exist with respect to plaintiff 's claims. The Court

therefore adopts the Report and Recommendation (Dkt. No. 95) and grants the

motions of defendants New York State Police, Francis P. Christensen, and Kevin

Kendall for summary judgment pursuant to Fed. R. Civ. P. 56(c) (Dkt. Nos. 74, 76),

for the reasons stated in the Report and Recommendation.

      The Clerk shall enter Judgment for defendants New York State Police,

Francis P. Christensen, and Kevin Kendall and close the case.

      IT IS SO ORDERED.



                                         __s/Richard J. Arcara________
                                         HONORABLE RICHARD J. ARCARA
                                         UNITED STATES DISTRICT COURT

Dated: November 3, 2020
